934 F.2d 319Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jo-Ann MARSHBURN, Plaintiff-Appellant,v.Mark SAUNDERS, Defendant-Appellee.
    No. 90-3158.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 28, 1990.Decided May 28, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, District Judge.  (CA-88-675-HAR)
      Jo-Ann Marshburn, appellant pro se.
      Breckinridge Long Willcox, United States Attorney, Veronica Marie Clarke, Assistant United States Attorney, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jo-Ann Marshburn appeals from the district court's order which denied her motion to reopen her action for damages based on wrongful discharge from federal employment.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Marshburn v. Saunders, CA-88-675-HAR (D.Md. Sept. 7, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    